






NO. 07-04-0015-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 16, 2004



______________________________




IN RE GALE GREENSTREET AND JUDY LAWRENCE AS CO-TRUSTEES


OF THE A. M. &amp; J., COLDWATER, AND RED RIVER TRUSTS, RELATORS





_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.


ORIGINAL PROCEEDING


					

	Gale Greenstreet and Judy Lawrence, as Co-Trustees, relators, proceeding pro se,
commenced this original proceeding by filing  a "Complaint for an Emergency Preliminary
Injunction and Permanent Injunctive Relief [And Damages]."  We dismiss the complaint for
want of jurisdiction.  

	Relators reference an opinion and judgment issued by this Court on March 15,
1995, in Cause Number 07-94-0178-CV and request that we enforce that judgment. 
However, the judgment of an appellate court is enforced at the trial court level after the 
mandate from the appellate court is received by the trial court clerk and the process of
enforcing the judgment commences.  Mandate in our 1995 decision was issued on May
24, 1995.  Relators also request that we grant an emergency preliminary injunction and a
permanent injunction.

	 The jurisdiction of a court of appeals to grant injunctive relief is limited to preserving
or enforcing its jurisdiction over the merits of a pending appeal and not for the purpose of
granting relief on equitable grounds nor for protecting a litigant.  See Pace v. McEwen, 604
S.W.2d 231, 233 (Tex.Civ.App.-San Antonio 1980, no writ); see also Nelson v. Blanco
Independent School District, 386 S.W.2d 636, 637 (Tex.Civ.App.-Austin 1965, no writ). 
Because our mandate in the referenced proceeding was  issued in 1995, we have no
jurisdiction to grant the relief requested. 

	Accordingly, relators' complaint is dismissed for want of jurisdiction.

							Per Curiam





